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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

 MICHAEL MCCUEN, for himself and                 Civil No. 3:18-CV-00902
 all others similarly situated,
             Plaintiffs,

 v.

 MAINES PAPER & FOOD
 SERVICE, INC.,
                                                 Judge Jennifer P. Wilson
             Defendant.
         FINAL ORDER APPROVING CLASS ACTION SETTLEMENT

      Before the court is Plaintiff’s Unopposed Motion for Final Class Action

Settlement Approval of a Class Action Settlement. (Doc. 45.) Based upon this

court’s factual findings that were made on the record during the June 8, 2020 final

settlement approving hearing, for good cause shown, and as more fully explained

below, IT IS ORDERED THAT the motion is GRANTED as follows:

      1. The court has personal jurisdiction over the Parties and Settlement Class
         Members. The court has subject matter jurisdiction to release all claims
         and causes of action released in the Settlement Agreement. (See Docs. 37-
         3, 45-3). The court has subject matter jurisdiction to approve the
         Settlement Agreement. (See id.)

      2. The court preliminarily approved the Settlement Agreement, Docs. 37-3,
         45-3, that is the subject of this Motion by order entered on January 28,
         2020. (Doc. 41 (the “Preliminary Approval Order”).) A copy of the


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   Settlement Agreement was attached as an exhibit to Plaintiff’s Unopposed
   Motion for Preliminary Approval of the Class Action Settlement, Doc. 37-
   3, and it is incorporated in this Final Approval Order by reference. The
   terms used in this Final Approval Order shall have the same meaning as
   they are defined in the Settlement Agreement. (Docs. 37-3, 45-3.)

3. On June 8, 2020, the court conducted a Final Approval Hearing to
   consider final approval of the Settlement Agreement, Docs. 37-3, 45-3,
   and proceeded to make certain relevant findings at the hearing. The
   court has considered all matters submitted to it at the Final Approval
   Hearing and otherwise, the pleadings on file, the applicable law, and the
   record.

4. The court finds that the proposed Settlement Class, as defined in the
   Settlement Agreement, meets the requirements of Rule 23(a) and Rule
   23(b)(3) of the Federal Rules of Civil Procedure. Accordingly, for
   settlement purposes only, the court certifies the Rule 23 Class consisting
   of the following:

       All persons employed by Defendant as a Driver’s Helper and
       who made deliveries in the State of New York at any time from
       April 30, 2012 through and including entry of the Preliminary
       Approval Order, as determined by Defendant following a good-
       faith review of its records, and who did not timely and validly
       exclude themselves from the Putative Settlement Class in
       compliance with the procedures set forth in the Settlement
       Agreement.

    The Plaintiff’s Unopposed Motion for Final Approval of a Class Action
    Settlement Agreement includes a list of all members of the Settlement
    Class. (See Doc. 45-4 Ex. C)

5. For purposes of settlement, the court approves the Named Plaintiff,
   Michael McCuen, as the Class Representative.




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6. For purposes of settlement, the court appoints as Class Counsel David J.
   Cohen, James B. Zouras and Ryan F. Stephan of Stephan Zouras, LLP and
   Jeremiah Frei-Pearson of Finkelstein, Blankinship, Frei-Pearson &
   Garber, LLP.

7. Class Counsel filed a separate Petition for Class Counsel’s Fees, Costs,
   and Expenses, Doc. 46, in accordance with Section VI of the Settlement
   Agreement. Based on a full review of this filing, the court awards Class
   Counsel a total of $470,306.84 including $455,000.00 in fees and
   $15,306.84 in costs and expenses.

8. Class Counsel filed a separate application, Doc. 46, for approval of a one-
   time Service Payment award to Named Plaintiff in accordance with
   Section VII of the Settlement Agreement. Based on a full review of this
   filing, the court awards Named Plaintiff a Service Payment of $15,000.

9. The court approves the Settlement Agreement and finds that it is a
   reasonable compromise of the claims of the Settlement Class members
   under Federal Rule of Civil Procedure 23(e) and Girsh v. Jepson, 521
   F.2d 153, 157 (3d Cir. 1975). The Settlement Agreement is fair, just,
   reasonable and adequate to, and in the best interest of, the Settlement
   Class members. It achieves a definite and certain result for the benefit of
   the Settlement Class members that is preferable to continuing litigation in
   which the Settlement Class members would necessarily confront
   substantial risk (including the risk of non-certification of a class and the
   risk of loss), uncertainty, delay, and cost. This Order constitutes final
   approval of the Settlement Agreement. The Settlement Agreement is
   binding on the Parties and on all members of the Settlement Class.

10. The court determines that notice was given as required by the Preliminary
    Approval Order. (Doc. 41.) The court finds that the Settlement Notice,
    Doc. 45-4 Ex. A, given of the proposed settlement was the best practical
    notice under the circumstances and provided the Putative Settlement Class
    members with fair and adequate notice of the terms of the Settlement
    Agreement and the Final Approval Hearing, and of their right to exclude



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   themselves from the class or object to the settlement. The court finds the
   Settlement Notice, Doc. 45-4 Ex. A, satisfied the requirements of Rule 23
   of the Federal Rules of Civil Procedure.

11. The court finds that the Settlement Agreement: (a) is fair to all parties; (b)
    reasonably resolves a bona fide disagreement and dispute between the
    parties with regard to the merits of the claims of the Named Plaintiff and
    the Settlement Class members; and (c) demonstrates a good faith intention
    by the parties that these claims be fully and finally resolved, not subject to
    appellate review, and not re-litigated in whole or in part at any point in the
    future. The court therefore approves the Settlement Agreement,
    including its release of claims.

12. By operation of the Settlement Agreement and this Final Approval Order,
    and except as to such rights or claims as may be created by the Settlement
    Agreement or those non- waivable by law, Named Plaintiff and
    Settlement Class members are hereby irrevocably and unconditionally
    deemed to have forever and fully released Defendant and all Released
    Persons from any and all Released Claims. The Named Plaintiff and the
    Settlement Class members are forever barred from bringing or presenting
    any action or proceeding against Defendant or any of the Released
    Persons that involve or assert any of the Released Claims.

13. The Settlement Agreement shall be administered in accordance with its
    terms. Without affecting the finality of this judgment, the court reserves
    jurisdiction over the implementation, administration, and enforcement of
    this judgment and the Settlement Agreement and all matters ancillary to
    the same.

14. The Settlement Agreement reflects a compromise of disputed claims.
    The findings and rulings in this Final Approval Order are made for the
    purposes of settlement only. Nothing in the Settlement Agreement or
    this Final Approval Order, or in any ancillary documents, actions,
    statements, or filings made in furtherance of settlement, shall be deemed
    or admissible or used as evidence of (or as an admission of) liability by



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        Defendant or any of the Released Persons, or of any fault or wrongdoing
        whatsoever, or as evidence that (or as an admission that) this action may
        proceed as a class action under Rule 23 of the Federal Rules of Civil
        Procedure for any purpose other than settlement.

     15. This Civil Action is DISMISSED with PREJUDICE.

     16. The Clerk of Court is directed to CLOSE this case.

                                                 s/ Jennifer P. Wilson
                                               JENNIFER P. WILSON
                                               United States District Judge
                                               Middle District of Pennsylvania



Dated: June 10, 2020




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